                     UNITED STATES DISTRICT COURT FOR THE
                        EASTERN DISTRICT OF WISCONSIN
                              GREEN BAY DIVISION


TIMOTHY J. FAST,
on behalf of himself and
all others similarly situated,

                      Plaintiff,

       v.                                          Case No. 16-CV-1347

CASH DEPOT LTD.,

                      Defendant.


  PLAINTIFF’S FIRST SET OF INTERROGATORIES AND REQUESTS FOR
           PRODUCTION OF DOCUMENTS TO DEFENDANT


                                    INSTRUCTIONS

       A.     In answering these discovery requests, you must furnish all requested

information not subject to valid objection that is known by, possessed by, or available to

you or your agents, employees, attorneys, consultants or representatives.

       B.     If you are unable to fully answer any of these discovery requests, you must

answer them to the fullest extent possible, specifying the reason or reasons for your failure

to answer the remainder, and stating whatever information, knowledge or belief you have

concerning the unanswerable portion.

       C.     If you object to any discovery request as being vague or ambiguous,

identify each word or phrase that you consider to be vague or ambiguous, define that

term as you understand it, and answer the discovery request according to your

understanding.




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       D.      If you object to any discovery request as being overly broad, state what you

believe to be a proper limitation of the breadth of the discovery request and answer it

according to that limitation.

       E.      An evasive or incomplete answer is deemed to be a failure to answer and

may render you or your attorney, or both, liable for the expenses of a motion.

       F.      Each lettered subpart of a numbered discovery request (if any) is to be

considered a separate request for the purpose of objection. You must object separately to

each subpart, and if you object to less than all of the subparts of a numbered discovery

request, then you must answer the remaining subparts. In addition, if you object to a

discovery request or a subpart thereof as calling for information that is beyond the scope of

discovery, you must, nevertheless, answer the request or subpart thereof, to the extent that

it is not objectionable.

       G.      Each Interrogatory must be answered separately and fully in writing under

oath, unless it is objected to, in which event the reasons for objection must be stated in lieu

of answer.

       H.      You are under a continuing duty to reasonably supplement your responses

with respect to any question directly addressed to the identity and location of persons

having knowledge of discoverable matters, and the identity of each person expected to be

called as a witness at trial and the subject matter in which she or he is expected to testify.

Furthermore, you are under similar duty to correct any incorrect response when you later

learn that it is incorrect or no longer true.




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                                     DEFINITIONS

The following definitions apply to all discovery requests:

       (1) Communication.         The term “communication” means the transmittal of

          information in the form of facts, ideas, inquiries, or otherwise.

       (2) Document. The term “document” is synonymous in meaning and equal in

          scope of usage to the definition found in RULE 34(a), FED.R.CIV.P. (including

          writings, emails, drawings, graphs, charts, photographs, phono records, and

          other data compilations from which information can be obtained, translated,

          if necessary, by the opposing party through detection devices into reasonably

          usable form). A draft or non-identical copy is a separate document within the

          meaning of this term.

       (3) Identify.

              (i) With Respect to Persons. When referring to a person, “to identify”

                 means to give, to the extent known, the person’s full name, present or

                 last known address, and when referring to a natural person,

                 additionally, the present or last known place of employment. Once a

                 person has been identified in accordance with this subparagraph, only

                 the name of that person need be listed in response to subsequent

                 discovery requesting the identification of that person.

              (ii) With Respect to Documents. When referring to documents, “to

                 identify” means to give, to the extent known, the type of document,

                 general subject matter, date of the document, and author(s),

                 addressee(s), and recipient(s).




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      (4) Parties. The terms “plaintiff” and “defendant” as well as a party’s full or

          abbreviated name or a pronoun referring to a party mean the party and,

          where applicable, its officers, directors, employees, partners, corporate

          parent, subsidiaries, or affiliates. This definition is not intended to impose a

          discovery obligation on any person who is not a party to the litigation.

      (5) Person. The term “person” is defined as any natural person or any business,

          legal, or governmental entity, or association.

      (6) This Matter. The term “this matter” refers to the above-captioned matter.



                                 INTERROGATORIES

INTERROGATORY NO. 1:               Identify any and all individuals employed in the

position of non-exempt Field Service Technician at any time during the time period of

December 9, 2013 to the date of your responses. For each individual identified, identify

the following information for the time period of December 9, 2013, to the present date:

          a. name;

          b. last known home address;

          c. last known home telephone number;

          d. last known cellular phone number;

          e. last known e-mail address;

          f. dates of employment;

          g. the cities or territories the individual serviced;

          h. the reporting structure for the individual (who the individual reported to

             and who that individual reported to at Defendant);




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          i. each and every position the individual held at Defendant and his/her job

             duties and responsibilities in each position;

          j. the individual’s rate(s) of compensation while employed by Defendant and

             the date of any change(s) to the individual’s compensation;

          k. the total hours worked by the individual at Defendant for each and every

             workweek; and

          l. the reason(s) the individual is no longer employed at Defendant(s), if any.

INTERROGATORY NO. 2:              Identify any and all individuals who reviewed and/or

approved electronic timecards submitted to Defendant for the period of December 9,

2013, to the present date, for any and all individuals identified in response to

Interrogatory No. 1 propounded above. For each and every individual identified, identify

the following information for the time period of December 9, 2013, to the present date:

          a. name;

          b. last known home address;

          c. last known home telephone number;

          d. last known cellular phone number;

          e. last known e-mail address;

          f. dates of employment;

          g. each and every position the individual held at Defendant and his/her job

             duties and responsibilities in each position; and

          h. the reason(s) the individual is no longer employed at Defendant, if any.

INTERROGATORY NO. 3:              Identify the process through which: Plaintiff recorded

his time worked at Defendant; Defendant retrieved Plaintiff’s electronic timecard;

Defendant reviewed the information contained on Plaintiff’s electronic timecard;


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Defendant entered the information contained on Plaintiff’s electronic timecard into its

timekeeping and/or payroll system; and Defendant ultimately compensated Plaintiff for

the time contained on Plaintiff’s timecards. If any part of these processes changed

during the course of Plaintiff’s employment at Defendant, identify what part of the

process changed, the date the process changed, who directed the process change, and

the reason for the change to the process.

INTERROGATORY NO. 4:              Identify the timekeeping and/or payroll software

utilized by Defendant during the time period of December 9, 2013 to the date of your

responses and the method(s) through which Defendant backed up or copied said

software and/or its timekeeping and payroll records.

INTERROGATORY NO. 5:              For the time period of December 9, 2013 to the date of

your responses, identify how Defendant defined a “workweek” for individuals employed

in the position of non-exempt Field Service Technician. If the defined workweek differed

by region or any other identifying characteristic, identify each region or other

identifying characteristic’s corresponding workweek.

INTERROGATORY NO. 6:              For the time period of December 9, 2013 to December

9, 2016, identify each pay period, including the start date of each pay period and the end

date of each pay period.

INTERROGATORY NO. 7:              Identify any and all practices and/or policies

Defendant maintained or utilized for the time period of December 9, 2013 to the date of

your responses to relating to the compensation of individuals employed in the position

of non-exempt Field Service Technician, including, but not limited to any practices

and/or policies relating to compensation to non-exempt Field Service Technicians who

performed work in excess of forty (40) hours in a workweek, and any practices and/or


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policies relating to compensation to non-exempt Field Service Technicians who

performed “on call” work and/or work during “off duty” hours in any workweek.

INTERROGATORY NO. 8:             Identify any and all practices and/or policies

Defendant maintained or utilized for the time period of December 9, 2013 to the date of

your responses to determine the “regular rate of pay” for individuals employed in the

position of non-exempt Field Service Technician, who:

          a. Performed work in excess of forty (40) hours in any workweek;

          b. Performed “on call” work and/or work during “off duty” hours in any

             workweek;

          c. Earned non-discretionary bonuses, including, but not limited to, bonuses

             for being available to work “on call”; and/or

          d. Received a shift premium.

INTERROGATORY NO. 9:             Identify the name, job title, address, and telephone

number of any and all individuals other than counsel of record who contributed

information contained in Defendant’s responses to these Interrogatories and Requests

for Production of Documents and state whether each individual so identified has

personal knowledge of Plaintiff’s employment with Defendant.

INTERROGATORY NO. 10:            Identify the name job title, address, and telephone

number of any and all individuals other than counsel of record who contributed

information contained in Defendant’s Answer filed on February 10, 2017, and state

whether each individual so identified has personal knowledge of Plaintiff’s employment

with Defendant.




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INTERROGATORY NO. 11:              Identify any and all states in which Defendant

employed individual(s) in the position of Service Technician, or that position’s

equivalent, from the period of December 9, 2013 to the date of your responses.




                           REQUESTS FOR PRODUCTION

REQUEST TO PRODUCE NO. 1:                  Produce any and all documents identified in

Defendants’ Initial Disclosures, in whatever form maintained.

REQUEST TO PRODUCE NO. 2:                  Produce any and all documents identified,

referred to, or reviewed in any way in making your responses to the Interrogatories

propounded above, in whatever form maintained.

REQUEST TO PRODUCE NO. 3:                  Produce any and all job descriptions for the

position of non-exempt Field Service Technician, as well as for any other position titles

that are its equivalent with respect to job duties and responsibilities.

REQUEST TO PRODUCE NO. 4:                  Produce any and all employment policies,

procedures, and/or handbooks maintained by Defendant for its non-exempt Field

Service Technician applicable to the time period of December 9, 2013, to the date of

your responses. If any such policies, procedures, and/or handbooks were updated or

revised subsequent to December 9, 2013, provide both the complete policy, procedure,

or handbook as was in existence as of December 9, 2013, as well as a complete copy of

the policy, procedure, or handbook as updated or revised.

REQUEST TO PRODUCE NO. 5:                  Produce    copies    of   all   policies   and/or

procedures as they existed in 2013, 2014, 2015, 2016, and 2017 that relate to tracking or




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recording hours of work, and overtime, as well as any changes thereto since the filing of

Plaintiff’s Complaint.

REQUEST TO PRODUCE NO. 6:                 Produce     copies    of   all   policies   and/or

procedures as they existed in 2013, 2014, 2015, 2016, and 2017 that relate to “on call”

work and/or work during “off duty” hours, as well as any changes thereto since the filing

of Plaintiff’s Complaint.

REQUEST TO PRODUCE NO. 7:                 Produce     copies    of   all   policies   and/or

procedures as they existed in 2013, 2014, 2015, 2016, and 2017 that relate to any

bonuses or additional compensation (potentially) available to non-exempt Field Service

Technicians, as well as any changes thereto since the filing of Plaintiff’s Complaint.

REQUEST TO PRODUCE NO. 8:                 Produce     copies    of   all   policies   and/or

procedures as they existed in 2013, 2014, 2015, 2016, 2017 that relate to shift premiums

or differentials paid by Defendant and/or made available by Defendant to non-exempt

Field Service Technicians, as well as any changes thereto since the filing of Plaintiff’s

Complaint.

REQUEST TO PRODUCE NO. 9:                 Produce     any      and   all   communications,

including, but not limited to, correspondence, memoranda, and e-mail communications,

by and/or between agents, employees, officers, and/or directors of Defendant regarding

or related to Defendant’s policies and/or practices concerning overtime, Defendant’s

defined workweek, on-call or off-duty work, payment of shift premiums or differentials,

or tracking or recording of time worked by the individuals identified in response to

Interrogatory No. 1 propounded above.




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     Dated this __12th__ day of May, 2017.

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